                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     KNOXVILLE

 MSM Development, LLC,                       )
                                             )
               Plaintiff,                    )
                                             )
                                             )
 v.                                          )              3:13-cv-292 and 3:13-cv-296
                                             )              Reeves
                                             )
 Selective Insurance Company of              )
 South Carolina,                             )
                                             )
               Defendant.                    )


                                  MEDIATION REFERENCE

               Upon the agreement of the parties, these cases are hereby referred to mediation in
 accordance with E.D.TN. LR 16.4.

                It is hereby ORDERED that the parties, their representatives and/or actual
 decision-makers for all parties be present for the mediation. Any questions regarding who must
 be present for the mediation must be taken up with the mediator at least 72 hours before the
 mediation conference.

               The mediation of this case shall not affect the parties’ obligations to meet all
 deadlines set forth in the applicable rules and the Court’s scheduling order. In the event
 mediation is not successful, the parties are expected to be prepared for trial on the scheduled
 trial date. The mediator is reminded of the obligation set forth in E.D.TN. LR 16.4 (m) to file a
 Mediation Report within five days following the conclusion of each Mediation Conference.

               SO ORDERED.

               ENTER:




 cc:    Mr. Dana C. Holloway, Assigned Mediator
        All Counsel of Record




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